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                                         February 3, 2020
Via ECF
The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
500 Pearl Street, Chambers 1350
New York, New York 10007

               Re:      Ulku Rowe v. Google LLC, Case No. 1:19-cv-08655-LGS


Dear Judge Schofield:

       Plaintiff Ulku Rowe and Defendant Google LLC, (collectively, “the Parties”) respectfully
submit this joint status letter as outlined in the Scheduling Order and the Court’s Individual Rule
IV.A.2.

I.     PROCEDURAL HISTORY

        The initial Complaint was filed on September 17, 2019 and the Amended Complaint was
filed on November 22, 2019 after Plaintiff received a Notice of Right to Sue from the EEOC.
Defendant filed its Answer on December 6, 2019. Discovery is underway, and the Parties are
working to finalize an ESI Protocol for the Court’s consideration. With this joint status letter, the
Parties are contemporaneously filing a joint Proposed Protective Order for the Court’s
consideration. Mediation pursuant to the Second Amended Standing Administrative Order
regarding Counseled Employment Discrimination Cases Assigned to Mediation by Automatic
Referral (“Second Amended Order”) is scheduled for February 10, 2020.

II.    DISCOVERY

       a. Early disclosure requirements:

        On January 7, 2020, Google served its written responses in connection with the Initial
Discovery Protocols for Employment Cases Alleging Adverse Action (the “Initial Discovery
Protocols”), and an initial 21,617-page production. On January 23, 2020, Google served
amended written responses to the Initial Discovery Protocols and to the Second Amended Order,
as well as a supplemental document production of 13,040 pages.

        Plaintiff notes that Google's production is missing important information and documents
(e.g. comparator information and compensation), but anticipates that such production will be
made in response to Plaintiff’s document requests. Further, by email dated January 17, 2020,
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Plaintiff raised concerns with respect to the manner of Google’s initial production. Specifically,
Plaintiff’s position is that the format of many documents does not allow for any contextual
analysis of the items produced, nor any way to understand what the records are or how they
relate to other records. The Parties expect to meet and confer on this issue.

       On January 7, 2020, Plaintiff served written responses to the Second Amended Order and
a document production of 655 pages. On January 26, 2020, Google inquired as to when it would
receive Plaintiff’s written responses and production pursuant to the Initial Discovery Protocols.
On January 28, 2020, Plaintiff informed Google of her position that she was not required to
comply with the Initial Discovery Protocols.

               Plaintiff’s Position: It is Plaintiff’s position that this case is governed only by
       the Pilot Discovery Protocols as set forth in the Second Amended Standing
       Administrative Order. Indeed, the Court’s November 19, 2019 Order stated that “the
       parties shall complete the initial discovery required by the pilot discovery protocols by
       January 7, 2020 and the parties shall complete mediation by February 14, 2020.” (Dkt.
       No. 11) Further, on the December 23, 2020 Order of Automatic Referral, the Court
       directed the Parties to “[p]lease reference the Pilot Discovery Protocols” and attached the
       Pilot Discovery Protocols. (Dkt. No. 20) Thus, Plaintiff maintains that she has complied
       with her discovery obligations pursuant to the Pilot Discovery Protocols. Nonetheless,
       Plaintiff twice stated by email correspondence on January 28, 2020 and February 3, 2020,
       that Plaintiff is amenable to producing additional information and documents in advance
       of mediation and asked Google to identify which information and documents it seeks.
       Defendant has not responded to Plaintiff’s offer.

               Google’s Position: It is Google’s position that the Initial Discovery Protocols
       apply in this matter under Your Honor’s Individual Rule I.A.4, and under Part I, Section
       1(b) of the Initial Discovery Protocols, as Plaintiff alleges a failure to promote (Amended
       Complaint, Dkt. No. 12, ¶¶ 50, 66), and retaliation. (Id. ¶¶ 52-55, 68-71.) Plaintiff
       previously acknowledged that the Initial Discovery Protocols applied to this matter. See
       Dkt. No. 10 (parties’ joint request to adjourn preliminary conference, stating that “this
       case is subject to the Second Amended Standing Administrative Order, 11-Misc-003
       (S.D.N.Y. Oct. 1, 2015) and the Initial Discovery Protocols for Employment Cases
       Alleging Adverse Action.”) (emphasis added); Parties’ Proposed Civil Case Management
       Plan and Scheduling Order, Dkt. No. 14-1 (answering “yes” to whether this case is “[a]n
       employment case governed by the Initial Discovery Protocols for Employment cases?
       https://nysd.uscourts.gov/hon-lorna-g-schofield,” (¶ 3(a)). Plaintiff also signed and filed
       with this Court a joint letter stating that “[t]he parties will also produce the documents
       specified by the Initial Discovery Protocols for Employment Cases Alleging Adverse
       Action” by January 7, 2020, (Id. ¶ 4(b)), which was subsequently So Ordered by the
       Court. (Dkt. No. 18.)

               Only once Google had met its obligations under the Initial Discovery Protocols
       did Plaintiff change her position to assert that the Initial Discovery Protocols do not apply
       to this matter. Google believes that the Parties should be equally held to the discovery
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       obligations of this Court, and does not believe that Plaintiff’s offer to produce some
       additional documents mitigates her obligation to produce all documents and information
       called for by the Initial Discovery Protocols.

        The Parties therefore respectfully request that this Court instruct the Parties as to their
obligations under the Initial Discovery Protocols. In the alternative, Google will file a letter
motion pursuant to Your Honor’s Individual Rule III.C.3 seeking a pre-motion conference to
resolve this dispute.

       b. Additional discovery requests:

        On January 21, 2020, Plaintiff served Google with her First Request for the Production of
Documents, and Google served Plaintiff with its First Request for the Production of Documents
that same day. The Parties expect to receive written responses to the First Request for
Production of Documents on February 11, 2020, and documents will be produced on a rolling
basis. Google expects to receive written responses to its First Set of Interrogatories to Plaintiff
on February 20, 2020.



III.   COURT-ORDERED DEADLINES

        The Parties respectfully submit that they are working diligently and in good faith to
efficiently proceed with fact discovery in compliance with the Court’s schedule and do not
anticipate needing additional time to complete fact discovery at this time.



Respectfully submitted,


__________________________                             __________________________
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cc: All parties (via ECF)
